      Case 3:10-cr-03716-WQH                   Document 230             Filed 02/10/14                PageID.520        Page 1 of 2

                 (Rev. 3/01) Judgment in a Criminal Case for Revocations
     "'A0245O

                 Sheet 1                                                                                         F'ILED
                                                                                                             I HEB I 0 PI;~: 21
                                         UNITED STATES DISTRICT COURT
                                                                                                           CL FllK. u.s. illS Til ICT COUin
                     SOUTHERN                                    District of                              S)C~lF01rn1Aor        <;,\I.Q6iU
                  UNITED STATES OF AMERICA                                JUDGMENT IN A CRIMINAL CASE                               IlF"'F'
                                    V.                                    (For Revocation of Probation or Supervised Release)
                RAY MICHAELRUIZ VALDEZ (4)                                (For Offenses Committed On or After November I, 1987)


                                                                          Case Number: IOCR3716-WQH
                                                                          JOHN COTSIRILOS, CJA
                                                                          Defendant's Attorney
    REGISTRATION No. 21832298
D
    THE DEFENDANT:
     o  admitted guilt to violation ofallegation(s) No.   2-5
                                                          ------------------
     D was found in violation ofallegation(s) No.                         after denial of guilt.
    ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following allegation(s):

    Allegation Number              Nature of Violation
           2-4        Unlawful use of controlled substance (nv3)
             5        Failure to report law enforcement contact (nvI6)




       Supervised Release      is revoked and the defendant is sentenced as provided in pages 2 through          2     of this judgment.
    This sentence is imposed pursuant to the Sentencing Refonn Act of 1984.


             IT IS ORDERED that the defendant shan notify the United States attorney for this district within 30 days of any
    change of name, residence, Of mailing address until all fines, restitution, costs, and special assessments imposed by thIS judgment are
    fully paid. If ordered to pay restitution, the defendant shall notify the court and Umted States attorney of any material change in the
    defendant's economic circumstances.

                                                                          FEBRUARY 10,2014
                                                                         Date of Imposition of Sentence




                                                                          UNITED STATES mST




                                                                                                                          IOCR3716-WQH
     Case 3:10-cr-03716-WQH                           Document 230       Filed 02/10/14         PageID.521            Page 2 of 2
AO 245B      (Rev. 9/00) Judgment in Criminal Case.
             Sheet 2 - Imprisonment

                                                                                                Judgment - Page   _-=2,-- of       2
 DEFENDANT: RAY MICHAEL RUIZ VALDEZ (4)
 CASE NUMBER: IOCR3716-WQH
                                                               IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
          6 months



   D The court makes the following recommendations to the Bureau of Prisons:



    o The defendant is remanded to the custody of the United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
            Oat                                       [)I.m.    OJ.m.    on
                as notified by the United States Marshal.

    DThe defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           D    before
           o as notified by the United States Marshal.
           D as notified by the Probation or Pretrial Services Office.

                                                                  RETURN
I have executed this judgment as follows:

          Defendant delivered on                                                  to

at _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                             UNITED STATES MARSHAL


                                                                        By ________~~~~~~~~~---------
                                                                                         DEPUTY UNITED STATES MARSHAL




                                                                                                                        IOCR3716-WQH
